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                                UNITED STATES DISTRICT COURT

                NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

      WAYMO LLC,                              CASE NO. 3:17-cv-00939-WHA

                   Plaintiff,                 PLAINTIFF WAYMO’S FEBRUARY 5,
                                           2018 LIST OF NEXT SEVEN WITNESSES
          vs.
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    UBER TECHNOLOGIES, INC.;
 OTTOMOTTO LLC; OTTO TRUCKING
    LLC,

              Defendants.
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                                                              CASE NO. 3:17-cv-00939-WHA
                                                        WAYMO’S LIST OF NEXT SEVEN WITNESSES
 1          Pursuant to this Court’s December 4, 2017 Order (Dkt. 2340) and the parties' stipulation

 2 (1/30/17 Hearing Tr., 106:8-19), Plaintiff Waymo LLC (“Waymo”) hereby submits the following

 3 rolling list of its next seven trial witnesses:

 4                  1.      Gary Brown

 5                  2.      William Grossman

 6                  3.      John Bares (by deposition)

 7                  4.      Travis Kalanick

 8                  5.      Brian McClendon (by deposition)

 9                  6.      Cameron Poetzscher

10                  7.      Nina Qi

11          Pursuant to this Court's January 18, 2018 Order (Dkt. 2492), Waymo states that it intends

12 to request closure of the courtroom for the final 9 minutes of John Bares’ testimony because he

13 will be discussing the substance of Waymo’s asserted trade secrets.

14

15   Dated: February 5, 2018                         QUINN EMANUEL URQUHART & SULLIVAN, LLP

16                                                    By /s/ Charles K. Verhoeven
17                                                       Charles K. Verhoeven
                                                         Attorneys for WAYMO LLC
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                                                        -2-                  CASE NO. 3:17-cv-00939-WHA
                                                                    WAYMO’S LIST OF NEXT SEVEN WITNESSES
 1                           ATTESTATION OF E-FILED SIGNATURE
 2         I, Charles K. Verhoeven, am the ECF User whose ID and password are being used to file

 3 this Plaintiff Waymo's February 5, 2018 List of Next Seven Witnesses.

 4

 5 Dated: February 5, 2018                                  /s/ Charles K. Verhoeven
                                                        Charles K. Verhoeven
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                                                                  WAYMO’S LIST OF NEXT SEVEN WITNESSES
